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                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

 Before The Honorable Joseph C. Spero, Chief Magistrate Judge

UNITED STATES OF AMERICA,      )
                               )
           Plaintiff,          )
                               )
  VS.                          )      NO. CR 20-00249 RS (JCS)
                               )
ROLAND MARCUS ANDRADE,         )
                               )
           Defendant.          )
_______________________________)

                               San Francisco, California
                               Tuesday, November 8, 2022

       TRANSCRIPT OF OFFICIAL ELECTRONIC SOUND RECORDING

          OF REMOTE ZOOM VIDEO CONFERENCE PROCEEDINGS

         TIME:    10:00 A.M.   -   10:04 A.M.    = 4 MINUTES

               AND 11:26 A.M. - 11:27 A.M. = 1 MINUTE

APPEARANCES:

For Plaintiff:
                           STEPHANIE M. HINDS
                           UNITED STATES ATTORNEY
                           450 Golden Gate Avenue, 11th Floor
                           San Francisco, California 94102
                     BY:   ANDREW F. DAWSON
                           ASSISTANT UNITED STATES ATTORNEY

For Defendant:
                           KING & SPALDING LLP
                           50 California Street, Suite 3300
                           San Francisco, California 94111
                     BY:   MICHAEL J. SHEPARD, ATTORNEY AT LAW


TRANSCRIBED BY:    Ana Dub, RDR, CRR, CSR No. 7445
                   Official United States Reporter
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1    Tuesday - November 8, 2022                                     10:00 a.m.

2                           P R O C E E D I N G S

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4             (Defendant present via Zoom, out of custody.)

5         THE CLERK:    We're calling Case Number 20-cr-0249,

6    U.S.A. vs. Roland Marcus Andrade.

7         And, Counsel, Andrew and Ross, which one of you should I

8    bring in?

9         Thank you.

10        Okay.   Appearances, please, first starting with

11   the Government and then defense counsel.

12        MR. DAWSON:    Good morning, Your Honor.       Andrew Dawson for

13   the United States.

14        THE COURT:    Good morning.

15        MR. SHEPARD:    And good morning, Your Honor.         Michael

16   Shepard for the defendant, Roland Marcus Andrade.

17        My colleague, Kerrie Dent, may also be in the audience.

18        THE COURT:    She's not in the waiting room yet.

19        MR. SHEPARD:    Okay.   Okay.   Maybe she just jumped directly

20   to the other link but...

21        And Mr. Andrade is present by Zoom and consents to proceed

22   in that fashion.

23        THE COURT:    All right.   Welcome, everyone.

24        All right.    This is an ID of counsel hearing.         My

25   understanding is that there's some issue about representation
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1    of the defendant.

2         So what I propose to do is see if anyone has anything they

3    want to say in this public session, and then proceed to an

4    ex parte session with counsel for the defense and the defendant

5    only and exclude the Government and the public from that

6    ex parte session.

7         But before I do that, maybe I'd ask, Mr. Dawson, if you

8    wanted to say anything in this public session.

9         MR. DAWSON:    Your Honor, I -- I'm unaware of the dynamics

10   at play.   So I have nothing to add at this -- at this stage.

11        THE COURT:    Okay.   All right.     And do you have any

12   objection to my proceeding to an ex parte session?

13        MR. DAWSON:    I do not, Your Honor.

14        THE COURT:    All right.   So there's two ways to do this

15   ex parte session.    One is we can stay on this webinar platform;

16   ask the Government lawyers to leave and, when they've left, we

17   will know that they've left; and then just proceed on the

18   webinar fashion.    We need to keep an eye on the attendee list

19   to make sure no one steps in.

20        Or we can go to my meeting link, Zoom meeting link, if

21   everyone has that link, Mr. Andrade and Mr. Shepard.

22        I'm going to invite Diana Weiss to come to either session

23   because she's, obviously, inside the attorney-client privilege

24   issue.

25        But I don't know if anyone has a preference.            We can stay
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1    right here, or we could go to the meeting link.

2         Mr. Andrade, do you have the meeting link?

3         You're on mute.       I'm sorry.

4         THE DEFENDANT:    Yes, sir.     I'm actually on your website,

5    sir, so I see the link there on your website, sir.

6         THE COURT:    Okay.    All right.     Well, maybe that's the --

7         THE DEFENDANT:    Safest.

8         THE COURT:    -- safest thing to do.

9         And Mr. Shepard's colleague may already be headed there.

10        So why don't we conclude this public session.             We'll go to

11   the meeting link.    And I'll invite Diana Weiss to also come to

12   that through the meeting link on my website.

13        And when this -- when that part is concluded, I guess what

14   we'll do is we'll e-mail or text you, Mr. Dawson, so we can get

15   back together in this webinar and you can hear the results.

16        MR. DAWSON:    Understood, Your Honor.

17        THE COURT:    Okay.    All right.     So we'll go -- everybody,

18   we'll take a brief recess, and we'll go to the -- defense

19   counsel, defendant, and Diana Weiss and the Court and staff

20   will go to the meeting link.      Okay?

21        THE DEFENDANT:    Thank you, Your Honor.

22        THE COURT:    All right.

23        MR. DAWSON:    Thank you, Your Honor.

24        MR. SHEPARD:   Thank you, Your Honor.

25        THE COURT:    Yes.    Thank you.
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1                  (Proceedings adjourned at 10:04 a.m.)

2         (Ex parte sealed proceedings heard by the Court, reported

3    but not transcribed herein.)

4                    (Proceedings resumed at 11:26 a.m.)

5         (The following proceedings were had in open court via

6    Zoom, the defendant being personally present, together with

7    counsel:)

8         THE CLERK:    Okay.   Court is in session.

9         We are resuming Case Number 20-cr-0249, U.S.A. vs. Roland

10   Marcus Andrade.

11        Appearances, please, first starting with the Government,

12   then defense counsel.

13        MR. DAWSON:    Good morning again, Your Honor.         Andrew

14   Dawson for the United States.

15        MR. SHEPARD:   And good morning.      Michael Shepard for the

16   defendant, who is present by Zoom and consents to proceed in

17   that fashion.

18        THE COURT:    All right.   Thank you.

19        I've had an ex parte session.        The only thing I'll reveal

20   about that ex parte session is that Mr. Shepard will continue

21   to represent Mr. Andrade.     And that will be reflected in the

22   minutes.    That will be the only thing reflected in the minutes.

23        Do you have -- and I think you have a status in a couple

24   of weeks is the next appearance before Judge Seeborg.            Is that

25   right?
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1         MR. DAWSON:    I believe that's correct, Your Honor.

2         THE COURT:    Okay.   All right.     Is there anything anyone

3    else would like to say in this public session?

4         MR. DAWSON:    Nothing from the Government.

5         MR. SHEPARD:   Nothing from me, Your Honor.            Thank you

6    again.

7         THE COURT:    All right.

8         So you're on mute.     You're on mute, Mr. --

9         MR. SHEPARD:   Marcus, you're on mute.

10        THE DEFENDANT:    Sorry about that.

11        Nothing from -- nothing from me, sir.          Thank you for

12   everything.

13        THE COURT:    All right.   Thank you.      And I appreciate the

14   education that I got in the ex parte session.

15        Okay.    Thank you, all.   We'll stand in recess.

16        THE CLERK:    Thank you.   Court stands in recess.

17                 (Proceedings adjourned at 11:27 a.m.)

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2                        CERTIFICATE OF TRANSCRIBER

3

4         I, ANA DUB, CSR NO. 7445, RDR, RMR, CRR, CCRR, CRG, CCG,

5    certify that the foregoing is a true and correct transcript, to

6    the best of my ability, of the above pages of the official

7    electronic sound recording provided to me by the U.S. District

8    Court, Northern District of California, of the proceedings

9    taken on the date and time previously stated in the above

10   matter.

11        I further certify that I am neither counsel for, related

12   to, nor employed by any of the parties to the action in which

13   this hearing was taken; and, further, that I am not financially

14   nor otherwise interested in the outcome of the action.

15

16

17   DATE:   Friday, February 24, 2023

18

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21           __________________________________________________

22                          Ana Dub, Transcriber

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